Exhibit A
From:               calausy@aol.com
Sent:               Monday, May 5, 2008 5:50 AM
To:                 Lausman, David CAPT (LCC19-CO)
Subject:            Re: Golfing


Hi Honey,
Decided to check emails tonight. Here is the number for the Shangri‐la 65 (country code) 62134190. Not sure how you
really call it but this is the number. Not sure what KK means but let me know. Rosemary would love to bring her boys
on board on Thursday around 3:00 and hope that is OK. I think you should be there and maybe with some presentos but
we will talk. Leonard's sons would like to come too on that day. I was wondering when the Hail and Farewell is. Could
you let me know. I was thinking we could go out to a nice dinner on Friday and invite Leonard and Teresa and of course
we would pay........yea right, but at least we could try. Let me know.
I love you Dave and "Life is really Good!!!!!!!" Wish you were here NOW!!!!!
Off to bed with out you.....Darn:(
Carol


‐‐‐‐‐Original Message‐‐‐‐‐
From: Lausman, David CAPT (LCC19‐CO) <david.lausman@lcc19.navy.mil>
To: calausy@aol.com
Sent: Mon, 5 May 2008 6:52 pm
Subject: RE: Golfing

Hi Hon,
  Glad to see everything went well….WE are having private dinner tomorrow night at the HYATT (GO FIGURE) at
1930……$50 per person so it is legit…there will be another dinner in KK will make sure VAN and Jenny go to that
one…SHED will take care of VAN and Jenny tomorrow night…..what is the phone number for the SHANGRI LA???? Will
try to call if I get a break while we are coming in…be pierside about 1100……


ENJOY you are worth it…..

DAVE
XOXOXOXOXO

       -----Original Message-----
       From: calausy@aol.com [mailto:calausy@aol.com]
       Sent: Monday, May 05, 2008 8:42 PM
       To: Lausman, David CAPT (LCC19-CO)
       Subject: Golfing

       Hi Babe,
       We have a Tee Time at the Tanah Merah Country Club at 1:30 on the 7th. Tried to get it early but it is a
       private course and somehow we got on. It is you me and P-Fred, and maybe one of the member who
       sponsored us to get on. Thanks to Rosemary who is Leonards secretary. Spent the day with her.......She
       is sooo awesome. She said we are having dinner tomorrow night is that true? Let me know. I will
       check emails in the morning. We are going to the botanical gardens arond 2:00, but give me a call or
       leave me a message and I will check it in the AM. I will also get you her email and give it ot you in tha
       AM. Loving it here and having a glass of champagne as I type......Wish you were here:( See you
       tomorrow.
                                                          1
                                                                                           NCIS-07707265
       Love and miss you lots.
       Me xoxoxoxoxoxox
       Plan your next roadtrip with MapQuest.com: America's #1 Mapping Site.


Plan your next roadtrip with MapQuest.com: America's #1 Mapping Site.




                                                         2
                                                                               NCIS-07707265.000002
